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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

        v.                                                Criminal No. 21-0487 (CKK)
 NICHOLAS L. KENNEDY,

    Defendant.


                     PROPOSED PRETRIAL SCHEDULING ORDER
                        (Proposed Trial Date: November 13, 2023)

                                                                       Proposed Deadlines

Discovery & Associated Deadlines
Government to complete any final discovery under present indictment    9/8/2023
Aspirational date for grand jury decision re: superseding indictment   9/15/2023
Government to complete discovery under any superseding indictment      9/15/2023
Discovery motions (Fed. R. Crim. P. 16)                                9/22/2023

Expert Notices & Other Crimes Evidence
Government’s expert notice (FRE 701 & 702)                             9/15/2023
Defendant’s expert notice (FRE 701 & 702)                              9/15/2023
Government’s FRE 404(b) notice                                         9/22/2023
Defendant’s response to FRE 404(b) notice                              9/15/2023
Brady notice

Experts
Expert reports (FRE 702)                                               9/15/2023
Lay witness identification and subject matter (FRE 701)                9/22/2023

Non-Evidentiary Pretrial Motions
Defendant’s non-evidentiary pretrial motions,
such as motions challenging the indictment                             9/19/2023
       Government’s response to Defendant’s non-evidentiary motions    10/3/2023
       Defendant’s reply as to non-evidentiary motions                 10/10/2023
Government’s non-evidentiary pretrial motions                          9/19/2023
       Defendant’s response to Government’s non-evidentiary motions    10/3/2023
       Government’s reply as to non-evidentiary motions                10/10/2023

Evidentiary Pretrial Motions
Defendant’s evidentiary pretrial motions,

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such as motions to suppress evidence, or Daubert                            9/28/2023
       Government’s response to Defendant’s evidentiary motions             10/12/2023
       Defendant’s reply as to evidentiary motions                          10/19/2023
Government’s evidentiary pretrial motions,
such as Daubert and other crimes (404(b))                                   9/28/2023
       Defendant’s response to Government’s evidentiary motions             10/12/2023
       Government’s reply as to evidentiary motions                         10/19/2023

Motions in Limine
Motions in limine by both sides                                             10/5/2023
Responses to motions in limine                                              10/19/2023
Replies as to motions in limine                                             10/26/2023

Joint notice of stipulations                                                11/2/2023

Giglio, Jencks, and Rule 26.2 material                                      10/31/2023

Voir Dire and Jury Instructions                                             11/2/2023

Witness and Exhibit Lists
Government’s witness list, exhibit list and exhibits                        10/31/2023
Defendant’s witness list, exhibit list and exhibits                         10/31/2023

Pre-Trial hearings (to include resolutions of objections to evidence) shall take place as needed on
a series of dates to be discussed with the Court.


       SO ORDERED.

                                                       COLLEEN KOLLAR-KOTELLY
                                                       United States District Judge




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